    Case 23-19865-JKS Doc 52-2 Filed 11/07/23 Entered 11/07/23 15:20:42                                        Desc
                Proposed Order for Admission Pro Hac Vice Page 1 of 2



    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in Compliance with D.N.J. LBR 9004-1(b)
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    Properties, Inc., Beacon Capital Partners LLC,
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    Investment Management (John Hancock Life
    Insurance Company)

      -and-

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    Local Counsel for Landlords affiliated with
    Boston Properties, Inc., Beacon Capital
    Partners LLC, Columbia Property Trust and
    Manulife Investment Management (John
    Hancock Life Insurance Company)

    In re:                                                          Chapter 11

    WEWORK INC., et al.,                                            Case No. 23-19865-JKS

                                   Debtors.1                        Joint Administration Pending


                                  ORDER FOR ADMISSION PRO HAC VICE

          The relief set forth on the following page is ORDERED.
_______________________________

1
  The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: WeWork Inc. (4904), in addition to all affiliates listed in Rider 1 to the petition filed in this case [Doc
1].
  Case 23-19865-JKS Doc 52-2 Filed 11/07/23 Entered 11/07/23 15:20:42                          Desc
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        This matter having been brought before the Court on application for an Order For Admission
Pro Hac Vice; and the Court having reviewed the moving papers of the applicant, out-of-state
attorney, and considered this matter pursuant to Fed. R. Civ. Proc. 78, D.N.J. L. Civ. R. 101.1 and
D.N.J. LBR 9010-1, and good cause having been shown; it is

        ORDERED that DOUGLAS B. ROSNER, ESQ. be permitted to appear pro hac vice;
provided that pursuant to D.N.J. L. Civ. R. 101.1(c)(4), an appearance as counsel of record shall be
filed promptly by a member of the bar of this Court upon whom all notices, orders and pleadings
may be served, and who shall promptly notify the out-of-state attorney of their receipt. Only an
attorney at law of this Court may file papers, enter appearances for parties, sign stipulations, or sign
and receive payments on judgments, decrees or orders, and it is further

        ORDERED that the applicant shall arrange with the New Jersey Lawyers’ Fund for Client
Protection for payment of the annual fee, for this year and for any year in which the out of-state
attorney continues to represent a client in a matter pending in this Court in accordance with New
Jersey Court Rule 1:28-2 and D.N.J. L. Civ. R. 101.1, said fee to be deposited within twenty (20)
days of the date of the entry of this Order, and it is further

        ORDERED that the $150.00 fee required by D.N.J. L. Civ. R. 101(c)(3) for pro hac vice
admission to the District Court for the District of New Jersey shall also be payable within twenty
(20) days of entry of this Order. Payment in the form of a check must be payable to “Clerk, USDC”
and forwarded to the Clerk of the United States District Court for the District of New Jersey at the
following address:
                                     United States District Court
                                       District of New Jersey
                               Martin Luther King, Jr. Federal Building
                                          50 Walnut Street
                                        Newark, N.J. 07102
                                Attention: Pro Hac Vice Admissions

        and it is further ORDERED that the applicant shall be bound by the Local Rules of the United
States District Court for the District of New Jersey and the Local Rules of Bankruptcy Procedure for
the District of New Jersey; and it is further

        ORDERED that the Clerk shall forward a copy of this Order to the Treasurer of New
Jersey Lawyers’ Fund for Client Protection within 5 days of its date of entry.
